                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    3:94-CR-30-2

 UNITED STATES OF AMERICA,                                  )
                                                            )
                                    Plaintiff,              )
                                                            )                ORDER
 v.                                                         )
                                                            )
  ANDRE CARDELL KING,                                       )
                                                            )
                                    Defendant               )

       THIS MATTER is before the Court following the decision of the United States Court of

Appeals for the Fourth Circuit, dated November 20, 2015, United States v. Andrew Cardell King,

No. 15-6734, which vacated an order of this Court and remanded the case to this Court for further

proceedings on the Government’s Motion to Authorize Payment from Inmate Trust Account (Doc.

No. 200). In light of the Court of Appeals’ decision, the Court sets the following briefing schedule

on the Motion to Authorize Payment from Inmate Trust Account.

       Defendant shall have forty-five (45) days from his receipt of this Order to file a response

to the Government’s motion. Defendant shall set forth any and all objections to the Government’s

motion in this filing. The Court will not consider the arguments made in the previously filed

Motion for Reconsideration, as the Court of Appeals has implicitly decided that was not sufficient

to constitute an opportunity to be heard.

       The Government shall have fourteen (14) calendar days following service of Defendant’s

response to file any reply brief.

       IT IS SO ORDERED.
                                                 Signed: November 23, 2015




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